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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS



IN RE AMERIQUEST MORTGAGE CO.                              MDL No. 1715
MORTGAGE LENDING PRACTICES
LITIGATION                                                 Lead Case No. 05-cv-07097
                                                           (Centralized before The Honorable
                                                           Marvin E. Aspen)
THIS DOCUMENT RELATES TO:
BORROWER CLASS PLAINTIFFS’ ACTIONS


                                  SETTLEMENT AGREEMENT
           This Settlement Agreement ("Settlement" or “Agreement”) is entered into among: (i) the

Plaintiffs named in the Borrowers’ First Amended and Consolidated Class Action Complaint

(“Plaintiffs”); and (ii) Ameriquest Mortgage Company; AMC Mortgage Services, Inc. (FKA

Bedford Home Loans, Inc); Town & Country Credit Corporation; Olympus Mortgage Company

(NKA Bedford Home Loans, Inc.); and Argent Mortgage Company, LLC (collectively, the

“Settling Defendants”) by and through their respective counsel of record, subject to approval of

the Court.

           IT IS HEREBY STIPULATED AND AGREED, by and among the parties, that all

claims that were or could have been alleged in the Borrowers’ First Amended and Consolidated

Class Action Complaint (“FACC”), filed in the above captioned proceeding, are settled on the

terms and conditions set forth in this Settlement Agreement, subject to the approval of the Court.

For the purposes of this agreement, the class actions whose claims are being consolidated in the

the FACC (“Consolidated Actions”) shall include:

    •      Barber v. Ameriquest Capital Corp., Case No. 04-CV-01296 (TJC-TEM), U.S.
           District Court for the Middle District of Florida;
    •      Becker v. J.M. Closing Services, Inc., et al., Case No. 1:06-cv-02810 (RDB), U.S.


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      District Court for the District of Maryland;
  •   Boudin v. ATM Holdings, Inc. D/B/A ATM Corp. of America and Ameriquest Co., Case
      No. 1:07-CV-0018, U.S. District Court for the Southern District of Alabama;
  •   Brown v. Ameriquest Capital Corp., Case No. SACV05-285 (AHS), U.S. District
      Court for the Central District of California;
  •   Campbell v. Ross v. Ameriquest Mortgage Co., Case No. 05-CV-00107 (WLS),
      U.S. District Court for the Middle District of Georgia;
  •   Capasso v. Ameriquest Mortgage Co., Case No. 06-CV-01221 (JCL), U.S.
      District Court for the District of New Jersey;
  •   Carlson v. Ameriquest Mortgage Co., Case No. 06-CV-03129 (PAM), U.S.
      District Court for the District of Minnesota;
  •   D’Ambrogi v. Ameriquest Mortgage Co., Case No. 05-CV-04427 (CMR), U.S.
      District Court for the Eastern District of Pennsylvania;
  •   Doherty v. Town & Country Credit Corp., Case No. 05-CV-00589 (JRT), U.S.
      District Court for the District of Minnesota;
  •   Graham, et al. v. Ameriquest Mortgage Co., Argent Mortgage Co., et al.; 4:06-40195
      U.S. District Court for the District of Massachusetts;
  •   Harless v. Ameriquest Mortgage Co., Case No. 06-CV-1391 (SEB-VSS), U.S. District
      Court for the Southern District of Indiana;
  •   Harless v. Ameriquest Mortgage Co., Case No. 06-CV-0695 (LJM), U.S. District
      Court for the Southern District of Indiana;
  •   Hines, et al. v. Ameriquest Mortgage Co., Case No. 4 06-CV-00133 U.S. District Court
      for the Northern District of Georgia;
  •   Jewell v. Ameriquest Mortgage Co., Case No. 06-CV-00269, U.S. District Court
      for the Northern District of Illinois;
  •   Jones v. Ameriquest Mortgage Co., Case No. 07-AP-1079 (MAM-ALS) U.S. Bankruptcy
      Court for the Southern District of Alabama;
  •   Juillerat v. Ameriquest Mortgage Co., Case No. 8:05-CV-01117 (DOC), U.S.
      District Court for the Central District of California;
  •   Kahrer v. Ameriquest Mortgage Co., Case No. CIV.A.05-391, U.S. District Court
      for the Western District of Pennsylvania;
  •   Knox v. Ameriquest Mortgage Co., Case No. C 05 00240 (SC), U.S. District Court
      for the Northern District of California;
  •   Madrazo v. Ameriquest Mortgage Co., Case No. CV 05 3987 (BRK), U.S.
      District Court for the Eastern District of New York;
  •   Montanez v. Ameriquest Mortgage Co., Case No. 06 CV 10244 (RWZ), U.S.
      District Court for the District of Massachusetts;
  •   Murphy v. Ameriquest Mortgage Co., Case No. 04-CV-12651 (RWZ), U.S.
      District Court for the District of Massachusetts;
  •   Russell v. Ameriquest Mortgage Co., Case No. 06-CV-401 (TLS-APR) U.S. District
      Court for the Northern District of Indiana;
  •   Sanchez v. Argent Mortgage Co., Case No. SACV07-CV-984 (CJC) U.S. District Court
      for the Central District of California;
  •   Saunders v. Ameriquest Mortgage Co., Case No. 5-CV-01126 (CAB), U.S.
      District Court for the Northern District of Ohio;
  •   Stadaker v. Ameriquest Mortgage Co., Case No. 3:07-CV-00409, U.S. District Court for


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         the Middle District of Tennessee;
     •   Ungar v. Ameriquest Mortgage Co., Case No. 05 CIV 01849 (JDW), U.S. District
         Court for the Middle District of Florida;
     •   Valdes v. Ameriquest Mortgage Co., Case No. RG05236537, Alameda County Superior
         Court;
     •   Williams v. Ameriquest Mortgage Co., Case No. 05 CV 6189 (LTS), U. S. District
         Court for the Southern District of New York; and
     •   Williams v. Ameriquest Mortgage Co., Case No. 05-CV-01036 (EAK), U.S.
         District Court for the Middle District of Florida.

I.       RECITALS

         A.    On or about December 14, 2005, the Judicial Panel on Multidistrict Litigation

consolidated and transferred certain of the class action cases pending in this proceeding and

thereafter transferred most of the balance of the Consolidated Actions. Other class action cases

pending in this proceeding were transferred and consolidated in this Court under the rule

governing related actions in the United States District Court for the Northern District of Illinois.

Each of the Consolidated Actions alleged that one or more of the Settling Defendants violated

state, federal and/or common law consumer protections in originating and/or servicing loans to

the Plaintiffs and other similarly situated individuals.

         B.    On December 6, 2006, the Plaintiffs in the Consolidated Actions filed a

Borrowers’ Consolidated Class Action Complaint (“CCAC”) [Docket No. 325]. On June 18,

2007, Plaintiffs in the Consolidated Actions filed a Motion for Leave to file a First Amended

Consolidated Class Action Complaint. The Court has not issued any ruling on this Motion, the

Proposed First Amended and Consolidated Class Action Complaint has not been filed and the

Settling Parties hereby agree that the Motion is withdrawn.

         C.    The Plaintiffs intend to file a new Borrowers First Amended and Consolidated

Class Action Complaint (“FACC”) to consolidate additional later transferred class action cases

and for other purposes. The FACC shall be approved by the Settling Defendants before filing

and shall include as plaintiffs all parties previously named as a plaintiff in any of the

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Consolidated Actions, including those previously omitted from Saunders v. Ameriquest

Mortgage Co., Case No. 5-CV-01126, but shall not include those individuals who previously

released claims in the AG Settlement.

       D.      On or about November 7, 2006, the Court appointed the undersigned counsel for

the Plaintiffs to act as lead counsel for the Borrower Class Plaintiffs and they have done so in

consultation with their Executive Committee and counsel for other Plaintiffs in the Consolidated

Actions [Docket No. 284].

       E.      The Settling Defendants deny the allegations of the Consolidated Actions and of

both the CCAC and the FACC and deny that Plaintiffs or the Class have been harmed by any act

or omission of the Settling Defendants.

       F.      In or about September 2007, the Settling Defendants ceased making new loans

and over a period of time transferred certain interests in various businesses to other unrelated and

non-affiliated entities in arms length transactions. From approximately September 30, 2007,

none of the Settling Defendants were engaged in substantial business activities other than

managing assets and liabilities arising from its prior business operations.

       G.      In January 2006, ACC Capital Holdings Corporation, Ameriquest Mortgage

Company, Ameriquest Mortgage Services f/k/a Bedford Home Loans and Town & Country

Credit Corporation (“AG Defendants”) entered into a $325 million settlement with the Attorneys

General of the 49 States in which the AG Defendants conducted business (“AG Settlement”).

The AG Settlement resolved all claims and charges alleged relating to the AG Defendants’

lending practices, which included many of the types of allegations made by Plaintiffs in this

action and provided for general releases in favor of Ameriquest by borrowers who participated in

that settlement. This Settlement Agreement is intended to, among other things, resolve the



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claims of those individuals who either intentionally or unintentionally failed to participate in the

AG Settlement.

II.    DISCOVERY COMPLETED

       A.      Plaintiffs, by and through their counsel, have undertaken substantial formal and

informal discovery over the course of approximately 4 years of MDL litigation. Approximately

15 depositions were conducted, including depositions of the Settling Defendants’ employees,

officers, directors, and/or managing agents. In addition, Plaintiffs conducted substantial

discovery in several cases before they were transferred and consolidated into the MDL

proceeding. Plaintiffs also subpoenaed various former employees of the Settling Defendants’ and

received their testimony.

       B.      In addition, Settling Defendants produced over 212,690 pages of loan files and

other documents regarding company policies and procedures and corporate activities during the

class period. They further produced several terabytes of computerized data about Class Member

loan files. The parties had numerous disagreements regarding the scope or relevance of Plaintiffs'

requested discovery, which were the subject of dozens of discovery conferences and substantial

discovery practice.

       C.      Prior to entering into this Settlement, Lead Class Counsel reviewed substantial

financial information regarding the Settling Defendants’ assets, insurance policies, and revenue

projections, which the Settling Defendants will also confirm through a Declaration to be

submitted to the Court, for in camera review in conjunction with the Settlement.

III.   SETTLEMENT PROCEEDINGS

       A.      On December 6, 2007 the parties began to pursue, by agreement, a settlement by

mediation before an agreed-upon neutral: retired San Francisco Superior Court Judge Daniel

Weinstein, at JAMS in San Francisco, California. The parties met with the mediator on over 12

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occasions, in San Francisco and New York and by phone. In addition to the sessions with Judge

Weinstein, the parties engaged in dozens of hours of in-person meetings, conference calls, and

other communications intended to further the process of settlement. Judge Weinstein

recommends this Settlement.

       B.      Negotiations were at arms length, hard fought, and frequently acrimonious.

       C.      In May 2009, the parties reached agreement, in principal, on economic terms for

the Class.

       D.      That agreement was contingent on additional data review, development of a

process for identifying class members from available data and development of a Distribution

Plan that considers the relative harm suffered by class members and the strengths and

weaknesses of the claims of members of each class. Those activities were completed prior to

execution of this agreement.

       E.      Plaintiffs agree to settle this class action pursuant to the provisions of this

Settlement Agreement, set forth in detail below, considering, among other things:

               1.      The substantial benefits to the Class under the terms of this Settlement

       Agreement;

               2.      The attendant expense, risks, difficulties, delays, and uncertainties of trial

       and post-trial proceedings; and

               3.      The Settling Defendants’ financial circumstances and the risk the Class

       could obtain little or no relief if the proceedings did not resolve.

       F.      Both Class Counsel and the Class Representatives agree that the Settlement

Agreement provides fair, reasonable, and adequate relief to the Class in the circumstances




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presented, and that settlement on the agreed terms, set forth below, is in the best interests of the

Settlement Classes described below.

       G.       Class Counsel, after consultation with relevant experts, have carefully evaluated

and compared the strengths, weaknesses, and relative merits of the claims of the several classes

and have developed a distribution plan for division of the economic relief that recognizes, to the

extent possible based on the available data and the uncertainties of litigation, the relative value of

those claims.

IV.    SETTLEMENT RELIEF

       A.       The Settlement Monetary Fund (“Settlement Fund”) shall consist of $22 million.

       B.       The $22 million Settlement Fund is intended to be inclusive of:

                1.     Settlement payments to class members;

                2.     Notice and claims administration costs (including the costs of identifying

       class members based on data supplied or to be supplied by the Settling Defendants to

       Rust Consulting);

                3.     Service Awards to named Plaintiffs; and

                4.     Reasonable attorneys’ fees and costs in an amount to be determined and

       which the Settling Defendants will not oppose for the purposes of Settlement Approval.

       C.       The Settlement Fund does not include costs associated with resolving any other

case or matter not within the Consolidated Actions including, without limitation, Ricci, et al. v.

Ameriquest, Civil File No. 05-2546.

       D.       Creation of the Settlement Fund:

                1.     One-third of the Settlement Fund shall be deposited into a designated

                       account within seven business days after the parties execute the Settlement

                       Agreement;

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               2.      One-third shall be deposited within seven business days after entry of the

                       Preliminary Approval Order; and

               3.      One-third shall be deposited within seven business days after entry of the

                       Final Approval Order by the District Court.

       Interest on the deposited Settlement Fund shall be accumulated for the benefit of the

Settling Defendants until seven business days after entry of the Final Approval Order by the

District Court, if any. Settling Defendants’ payments may therefore be reduced by the amount of

any interest accrued on the fund as of the date that is seven business days after the date of entry

of the Final Approval Order. Following the date that is seven business days after the date of

entry of the Final Approval Order, interest shall accumulate for the benefit and augmentation of

the fund.

       If the Settlement Agreement terminates for any reason, including if the Effective Date (as

determined below) does not occur, the Settling Defendants will be entitled to receive the entire

amount of the Settlement Fund (including accrued interest), other than amounts previously spent,

so provided for in the Settlement Agreement, for notice and administration (including Rust

Consulting’s costs of identifying class members) (“Reimbursement”). The Reimbursement shall

be made by the holder of the funds upon written instruction from Settling Defendants no later

than five (5) business days following the termination of the Settlement Agreement.

       If the Settlement Agreement does reach the Effective Date (as defined below), and does

not terminate for any reason, the Settling Defendants will have no right to any portion of the

Settlement Fund (other than with respect to interest as set forth in the first full paragraph

following subsection 3 above), but instead such amounts will be expended for the Settlement.




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        Amounts, if any, in the Settlement Fund not used for other purposes permitted in this

Settlement Agreement shall be donated, by way of an award in the nature of cy pres to one or

more charities. The charities shall be selected by Settling Defendants, subject to approval by the

Plaintiffs, which approval will not be unreasonably withheld. In the event that the Plaintiffs do

not approve the Settling Defendants’ selection of charities, the parties will submit the dispute to

Judge Daniel Weinstein of JAMS, who will have sole authority, after appropriate consultation

with the parties, to make a binding decision on whether the charity or charities is an appropriate

recipient of Settlement Funds.

        E.     Distribution Plan: A plan of distribution (“Distribution Plan”) for the settlement

fund is attached hereto and labeled Exhibit 1. The Distribution Plan is subject to review and

approval by the Court.

V.      NON-BORROWER CLAIMS

        The Non-Borrower Class Plaintiffs through their counsel and the Settling Defendants

have reached an agreement that the Class Allegations of the Non-Borrower Complaint will be

dismissed in their entirety without prejudice within two business days of the granting of the

Motion for Preliminary Approval, and that original counsel for each of the named Plaintiffs may

take further action in connection with their claims as appropriate in light of the Supreme Court’s

decision in Safeco Insurance v. Burr, 127 S. Ct 2201 (2007), and the Seventh Circuit’s decisions

in Murray v. New Cingular Wireless Services, 523 F. 3d 719 (7th Cir 2008) and Calvin v. Home

Loan Center, 531 F. 3d 526 (7th Cir. 2008).

        The Non-Borrower Class Plaintiffs and the putative class(es) they sought to represent are

not included in the Settlement and shall not be entitled to compensation from the Settlement

Fund.



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VI.     SETTLEMENT CLASSES

        A.      Class Definitions: For the purpose of the definition of the settlement classes, the

“Class Period” is from December 14, 2001, to the present unless otherwise stated. Only

borrowers included in one of the following classes are covered by the Settlement. For the

purposes of these definitions, the term “Ameriquest” includes each of the Settling Defendants.

Class 1: “TILA RESCISSION CLASS”

        The TILA Rescission Class consists of a nationwide class of Borrowers (excluding: (i)

Released Parties ; (ii) the parents, subsidiaries and affiliates, officers and directors of the

Released Parties or of any entity in which a Released Party has a controlling interest; and (iii) the

legal representatives, successors, or assigns of any such excluded persons) who: (a) presently

own, or during the Class Period owned, property (including mobile homes) in the United States

and (b) entered into a mortgage loan transaction relating to such property with any Settling

Defendant or its predecessors at any time on or after February 8, 2003, or, for residents of

Massachusetts, at any time on or after February 8, 2002, and who have requested rescission of

their loans pursuant to applicable provisions of TILA or state disclosure laws on or before the

date of the Settlement Agreement.

        Excluded from the TILA Rescission Class are all individuals who have previously

released claims in contract or in tort, individually or as a member of a class action, or by

accepting a benefit in the Attorneys General Settlement.

Class 2: “BAIT AND SWITCH CLASS”

        The Bait and Switch Class consists of a nationwide class of Borrowers (excluding: (i)

Released Parties; (ii) the parents, subsidiaries and affiliates, officers and directors of the

Released Parties or of any entity in which a Released Party has a controlling interest; and the

legal representatives, successors, or assigns of any such excluded persons) who: (a) presently


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own, or during the Class Period owned, property (including mobile homes) in the United States;

and (b) entered into a retail mortgage loan transaction during the Class Period relating to such

property with any Settling Defendant or its predecessors and who meet one of the following

criteria:

        i. loan records establish a final disclosed annual percentage rate that is at least 0.9%
        higher (as calculated pursuant to TILA) than the disclosed annual percentage rate
        (calculated pursuant to TILA) contained in any pre-closing written disclosures made to
        the borrower.
        ii. loan records establish that the borrower received a loan containing a prepayment
        penalty, but pre-closing written disclosures made to the borrower described a loan
        without a prepayment penalty.
        iii. loan records establish that the borrower received a loan containing a variable rate, but
        pre-closing written disclosures made to the borrower described a loan containing a fixed
        rate.


        Excluded from the Bait and Switch Class are all individuals who have previously

released claims in contract or in tort, individually or as a member of a class action, or by

accepting a benefit in the Attorneys General Settlement.


Class 3: “DISCOUNT POINTS CLASS”

        The Discount Points Class consists of a nationwide class of Borrowers (excluding: (i)

Released Parties; (ii) the parents, subsidiaries and affiliates, officers and directors of the

Released Parties or of any entity in which a Released Party has a controlling interest; and (iii) the

legal representatives, successors, or assigns of any such excluded persons) who (a) presently

own, or during the Class Period owned, property (including mobile homes) in the United States;

(b) entered into a retail mortgage loan transaction during the Class Period relating to such

property with any Settling Defendant or its predecessors and (c) either entered into loans:

        (i) made after December 14, 2001, and before February 3, 2003, on which they had to pay
        discount points in any amount; or
        (ii) made on or after February 3, 2003, to the present on which they had to pay at least

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        three (3) discount points.

        Excluded from the Discount Points Class are all individuals who have previously released

claims in contract or in tort, individually or as a member of a class action, or by accepting a

benefit in the Attorneys General Settlement.

Class 4: “WHOLESALE BORROWER CLASS”

        The Wholesale Borrower Class consists of a nationwide class of Borrowers (excluding:

(i) Released Parties; (ii) the parents, subsidiaries and affiliates, officers and directors of the

Released Parties or of any entity in which a Released Party has a controlling interest; and (iii) the

legal representatives, successors, or assigns of any such excluded persons) who: (a) presently

own, or during the Class Period owned, property (including mobile homes) in the United States;

(b) entered into a wholesale mortgage loan transaction during the Class Period relating to such

property with any Settling Defendant or its predecessors; (c) paid fees to a loan broker in

connection with the mortgage loan; and (d) paid an amount constituting more than 3% of their

funded loan amount in Settlement Charges to the Settling Defendant or a mortgage broker.

        For the purposes of this definition, “Settlement Charges” include all fees paid to the

Settling Defendant, a mortgage broker or a third party settlement service provider at or about the

time of the origination of the loan and which are denominated in the Settling Defendants’

electronic records as prepaid finance charges.

        Excluded from the Wholesale Borrower Class are all individuals who have previously

released claims in contract or in tort, individually or as a member of a class action, or by

accepting a benefit in the Attorneys General Settlement.

Class 5: “LOAN SERVICING CLASS”

        The Loan Servicing Class consists of a nationwide class of Borrowers (excluding: (i)

Released Parties; (ii) the parents, subsidiaries and affiliates, officers and directors of the


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Released Parties or of any entity in which a Released Party has a controlling interest; and (iii) the

legal representatives, successors, or assigns of any such excluded persons) who: (a) presently

own, or during the Class Period owned, property (including mobile homes) in the United States;

(b) entered into a mortgage loan transaction relating to such property that was serviced by any

Settling Defendant during the Class Period; and (c) paid Default and Delinquency Fees or Costs

to the Settling Defendant in an amount in excess of a total of $1,000.

       For the purpose of this definition, Default and Delinquency Fees and Costs include fees

denominated in the Settling Defendants’ electronic servicing records as late, legal, phone pay

NSF, bad check NSF, appraisal and inspection fees and recoverable corporate advance.

       Excluded from the Loan Servicing Class are all individuals who have previously released

claims in contract or in tort, individually or as a member of a class action, or by accepting a

benefit in the Attorneys General Settlement.

       B.      Settlement Certification: For settlement purposes only, the Parties agree that, as

part of the Preliminary Approval Order, the Court may make preliminary findings and enter an

order granting provisional certification of the Settlement Classes subject to final findings and

certification in the Final Order, and appointing both Plaintiffs and Class Counsel as

representatives of the Settlement Classes. For settlement purposes only, the Settlement Classes

will be certified pursuant to Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure.

       The Parties do not consent to certification of the Settlement Classes for any purpose other

than to effectuate the settlement of the actions and claims identified in this Agreement. If this

Agreement is not approved by the Court or is terminated pursuant to its terms or for any other

reason, or is disapproved in a final order by any court of competent jurisdiction that is not subject

to appeal, the Parties hereby stipulate that the order certifying the Settlement Classes and all



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preliminary and/or final findings or stipulations regarding certification of the Settlement Classes

shall be automatically vacated.

         C.    The “Releasing Parties” under this settlement are all members and Named

Representatives of any Settlement Class who have not and do not validly exclude themselves

from the Settlement under procedures set forth in Section XI of this Agreement whether or not

they submit a claim, receive or accept any benefit, or cash any check in connection with the

Settlement.

VII.     FIRST CONSOLIDATED AND AMENDED COMPLAINT

         A.    For the purposes of Settlement only, Plaintiffs will file the Borrowers FACC

incorporating and superseding all pending consolidated complaints in this matter. The Settling

Defendants will stipulate to the filing of the FACC after approval as set forth in Section I.C

above.

         B.    The Settling Defendants do not consent to the filing of the FACC except for the

purposes of settlement. If this Agreement is not approved by the Court or is terminated pursuant

to its terms or for any other reason, or is disapproved in a final order by any court of competent

jurisdiction, any party to this motion may seek to have the FACC vacated and the other parties to

this agreement will consent to such motion. If the FACC is vacated it will be of no further force

and effect and the parties will be returned to the status quo ante in the litigation as if the FACC

had never been filed.

VIII. RELEASE

         A.    The Settling Defendants, together with Argent Securities LLC; Ameriquest

Mortgage Insurance Services Corporation; Ameriquest Funding II, LLC; Ameriquest Funding II

REO Subsidiary, LCC; Ameriquest Securities LLC; Park Place Securities LLC, Town & Country

Title Services, Inc.; Ameriquest Mortgage Securities, Inc.; Argent Securities, Inc.; Park Place

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Securities, Inc.; ACC Capital Holdings Corporation; SBP Capital Corporation (FKA Ameriquest

Capital Corporation); Dawn Arnall in all capacities; The Roland and Dawn Arnall Living Trust;

the Estate of Roland Arnall; and All Pass-Through entities created to facilitate the securitization

process including, without limitation as to each of the foregoing entities, all current and former

officers, directors, managers, employees, owners, shareholders, heirs, estates, related companies

by common ownership, parent companies, insurers, successors, assigns, servicers, investors,

trustees, agents and attorneys (the forgoing entities and individuals shall hereinafter be

collectively referred to as the “Ameriquest Released Parties”) shall be released from all claims,

causes of actions, or liabilities of which any and all Releasing Parties may or did have during the

Class Period, including without limitation, in contract, in tort (including but not limited to

personal injury, and emotional distress and RICO claims), statute, regulation, or common law,

whether in arbitration, administrative, or judicial proceedings, whether as individual claims or as

part of a class of claims or claims on behalf of the general public, whether known or unknown,

suspected or unsuspected, threatened, asserted or unasserted, actual or contingent, liquidated or

unliquidated, that relate to or arise from the matters that were alleged or asserted, or could have

been alleged or asserted in the FACC and/or the Consolidated Actions (collectively, the

“Released Claims”). Without limiting the foregoing, the Released Claims specifically extend to

claims that the Releasing Parties do not know or suspect to exist in their favor as of the Final

Approval Date. Releasing Parties, on behalf of themselves individually and in their

representative capacities acknowledge, and all Releasing Parties are deemed to acknowledge that

they are aware that any of them may hereafter discover facts in addition to, or different from,

those facts which they now know or believe to be true with respect to the subject matter of this

Agreement, but that it is their intention to release fully, finally and forever all Released Claims,



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and in furtherance of such intention, the release of the Released Claims will be and remain in

effect notwithstanding the discovery or existence of any such additional or different facts.

        B.      All Servicers, Investors and Trustees (collectively, the “Additional Released

Parties”) shall be released from all claims, causes of actions, or liabilities of which any and all

Releasing Parties may have or have had during the Class Period, including without limitation, in

contract, in tort (including but not limited to personal injury, and emotional distress and RICO

claims), statute, regulation, or common law, whether in arbitration, administrative, or judicial

proceedings, whether as individual claims or as part of a class of claims or claims on behalf of

the general public, whether known or unknown, suspected or unsuspected, threatened, asserted or

unasserted, actual or contingent, liquidated or unliquidated, that relate to or arise from the

matters that were alleged or asserted, or could have been alleged or asserted in the Complaints

(collectively, the “Additional Released Claims”). Without limiting the foregoing, the Additional

Released Claims specifically extend to claims that the Releasing Parties do not know or suspect

to exist in their favor as of the Final Approval Date. Releasing Parties, on behalf of themselves

individually and in their representative capacities acknowledge, and all Releasing Parties are

deemed to acknowledge that: i) they are aware that any of them may hereafter discover facts in

addition to, or different from, those facts which they now know or believe to be true with respect

to the subject matter of this Agreement, but that it is their intention to release fully, finally and

forever all Additional Released Claims, and ii) in furtherance of such intention, the release of the

Additional Released Claims will be and remain in effect notwithstanding the discovery or

existence of any such additional or different facts.

        Notwithstanding the forgoing, the release of the Additional Released Parties extends only

to Additional Released Claims based upon or arising out of conduct of the Ameriquest Released



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Parties and does not apply to claims based upon or arising out of the direct conduct of any

Additional Released Party.

       C.      Foreclosure Exception: Notwithstanding any language herein, the release given

to Ameriquest Mortgage Company; AMC Mortgage Services, Inc. (FKA Bedford Home Loans,

Inc); Town & Country Credit Corporation; Olympus Mortgage Company (NKA Bedford Home

Loans, Inc.); and Argent Mortgage Company, LLC (collectively, the “Originator Defendants”)

and to the Additional Released Parties shall not extend to, and shall have no effect on statutory or

common law foreclosure claims and defenses raised in response to, an actual or threatened

judicial or non-judicial foreclosure of any loan originated by a Defendant to a Class Member

who is a borrower and whose loan has not been paid off or liquidated as of the Final Approval

Date. This exception to the Released Claims shall not apply to any Ameriquest Released Party

other than the Settling Defendants and is, in any event, not intended to, and shall not, permit

affirmative recovery of monetary damages in connection with any foreclosure-related, or other,

proceeding.

IX.    RELEASE BY DEFENDANTS

       In exchange for the releases herein provided, the Ameriquest Released Parties are hereby

deemed to have released, on behalf of themselves and all of their parents, subsidiaries, affiliates,

predecessors-in-interest, successors-in-interest, and assigns ("Ameriquest Releasing Parties"), the

Plaintiffs and Class Counsel, from all claims, causes of actions, or liabilities of which any and all

of the Ameriquest Releasing Parties may have or have had against the Plaintiffs or Class

Counsel, whether known or unknown, that arise from matters alleged in the FACC or the

Consolidated Actions. Nothing contained herein, however, shall release any Plaintiff from the

obligations or benefits of any loan obtained from the Ameriquest Releasing Parties or limit

Defendants’ affirmative defenses or cross claims arising from any loan obtained from the

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Ameriquest Releasing Parties.

X.     NOTICE AND APPROVAL OF SETTLEMENT

       A.      Lead Class Counsel will submit preliminary approval papers for the Settlement,

including a Motion for Preliminary Approval along with a proposed order for preliminary

approval and certification of settlement classes substantially in the form of Exhibit 2 (the

“Preliminary Approval Order”), an agreed proposed form of mailed notice and a summary notice

substantially in the Form of Exhibits 3 and 4 (the “Notice” and “Summary Notice”), the

proposed form of the final order (“Final Order”) in the form of Exhibit 5, and the executed

Agreement, within a reasonable time following of execution of this Agreement. The Settling

Defendants will assent to the Motion for Preliminary Approval.

       B.      The Preliminary Approval Order will, among other things, certify the Settlement

Classes for settlement purposes only, approve Plaintiffs as adequate representatives of the

Settlement Classes, and allow the court to enter a date for a “Final Approval Hearing.” The

Preliminary Approval Order also will approve the form of the Notice, will find that the method

of notice selected constitutes the best notice to all persons within the definition of the Settlement

Classes that is practicable under the circumstances, and will find that the form and method of

notice each comply fully with all applicable law.

       C.      The Parties will propose the following notice protocol for approval by the Court:

               (a)     The appropriate form of notice, along with a claim form, will be mailed to

the last known address of Settlement Class Members in the Settling Defendants’ records, by first

class mail no later than thirty (30) days after the Court enters the Preliminary Approval Order;

               (b)     The Settlement Administrator and each Lead Class Counsel will provide a

link on its website to a central site maintained by the Settlement Administrator to obtain

downloadable and printable copies of the Settlement Agreement, the Notice and the Claim Form;

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               (c)    The Settlement Administrator will also provide publication notice of the

Agreement (“Summary Notice”) through one (1) notice to be published in Parade and USA

Today, or as otherwise ordered by the Court, not later than thirty (30) days after the Court enters

the Preliminary Approval Order.

               (d)    The Settlement Administrator will promptly re-mail any notices returned

by the Post Office with a forwarding address.

       D.      All costs of notice and administration will be borne by the Settlement Fund.

       E.      The Settlement Administrator will file with the Court and serve upon Lead Class

Counsel and Settling Defendants’ counsel no later than ten (10) days prior to the Final Approval

Hearing an affidavit or declaration stating that notice has been completed in accordance with the

terms of the Preliminary Approval Order.

       F.      The Final Approval Hearing will be held at a date and time to be set by the Court

after mailing of the Notice and the passing of the Opt-Out Date. At the Final Approval Hearing,

the Court will consider and determine whether the provisions of this Agreement and the

Distribution Plan should be finally approved as fair, reasonable and adequate, whether any

objections to the Settlement should be overruled, whether attorney’s fees, costs and named

representative service payments should be approved in the amounts requested, and whether a

judgment and order finally approving the Settlement and dismissing any of the actions should be

entered. Lead Class Counsel for the Plaintiffs will file the Motion for Final Approval of the

Settlement on the schedule ordered by the Court and the Settling Defendants will assent to the

Motion. The parties will submit a proposed order for Final Approval and Dismissal (“Final

Order”) substantially in the Form of Exhibit 5.




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       G.      The “Effective Date” for purposes of the Settlement shall be five (5) business

days after the latest of the following dates: (a) the date upon which the time to commence an

appeal of the Final Approval Order and Judgment has expired, if no one has commenced any

appeal or writ proceeding challenging the Final Order and Judgment; or (b) the date the Final

Approval Order and Judgment has been affirmed on appeal or writ review (or the appeal or writ

petition has been dismissed), and the time within which to seek further review has expired.

Notwithstanding the foregoing, the Settling Defendants may, within their sole discretion, declare

an earlier Effective Date, namely, any date after the Final Approval Order and Judgment is

entered.

       H.      Subject to Court approval, Plaintiffs will propose the firms on the list attached as

Exhibit 6 as “Class Counsel” for the purposes of Settlement and Fed. R. Civ. P. 23(g) (except to

the extent that all of the Plaintiffs represented by such firm opt out of the Settlement).

       I.      Subject to Court approval, Plaintiffs will propose the following firms, who have

served as interim Lead Class Counsel, as Lead Class Counsel for the purposes of Settlement and

Fed. R. Civ. P. 23(g):

               Gary Klein
               Shennan Kavanagh
               RODDY KLEIN & RYAN
               727 Atlantic Avenue
               Boston, MA 02111-2810
               Kelly M. Dermody
               Rachel Geman
               LIEFF, CABRASER, HEIMANN
                & BERNSTEIN, LLP
               275 Battery Street, 29th Floor
               San Francisco, CA 94111-3339
               Jill Bowman
               Terry Smiljanich
               JAMES, HOYER, NEWCOMBER
                 & SMILJANICH, P.A.
               One Urban Center, Suite 550
               4830 West Kennedy Boulevard

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               Tampa, FL 33609



XI.    EXCLUSIONS FROM THE SETTLEMENT

       A.      The last date for class members to exclude themselves from the Settlement (“Opt-

Out Date”) will be forty-five (45) days after the date of initial mailing date of the Mailed Notice.

Said date will be conspicuously listed in the Mailed Notice and in the Summary Notice.

       B.      Each Class Member who wishes to be excluded from the Settlement must mail to

the Settlement Administrator, postmarked or received in a manner allowed by the class notice on

or before forty-five (45) days after the initial mailing date, an appropriate written request for

exclusion, including his or her name, address, telephone number, and loan number, that is

personally signed by the Class Member. No Class Member, or any person acting on behalf or in

concert or participation with that Class Member, may exclude another Class Member from the

Settlement.

       C.      No later than fourteen days after the last date on which class members may

exclude themselves from the Settlement, Plaintiffs’ counsel shall direct the Settlement

Administrator to provide a list of those members of each class who have attempted timely and

validly to opt out (“Administrator’s Report”), on an attorney’s eyes only basis, to Lead Class

Counsel and designated counsel for the Settling Defendants. A copy of the form used for each

such attempted opt out will be appended to the Administrator's Report.

       D.      The final list of requests for exclusion will be filed with the Court by the

Settlement Administrator not later than ten (10) days before the Final Approval Hearing. Copies

of the requests for exclusion will be provided by the Settlement Administrator to Lead Class

Counsel and Counsel for the Settling Defendants as soon as practicable before the Final

Approval Hearing. If the Settlement is approved by the Court at the Final Approval Hearing and

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reaches the Effective Date, any and all Class Members who have not submitted a timely, written

request for exclusion to the Settlement Administrator, will be bound by the releases set forth

herein, and all proceedings, orders, and judgments entered in this class action litigation, even if

those persons have previously initiated or subsequently initiate individual claims, litigation or

other proceedings against the Settling Defendant related to the claims released pursuant to this

Settlement.

       E.      Named Class Representatives who exclude themselves from the Settlement shall

no longer be considered a Plaintiff or a Named Class Representative under this Settlement

Agreement and shall be entitled to no benefits of the Settlement including without limitation,

Service Payments, settlement payments, or payment of Attorney’s Fees and Costs.

XII.   OBJECTIONS TO SETTLEMENT

       A.      Any Class Member who has not filed a timely written request for exclusion and

who wishes to object to or oppose the fairness, reasonableness or adequacy of this Settlement

Agreement, or to any award of attorneys' fees and expenses, must serve upon Lead Class

Counsel and Counsel for the Settling Defendants, and must file with the Court, no later than

forty-five (45) days after the initial mailing date of the Mailed Notice, a statement of his/her

objection, as well as the specific reason(s), if any, for such objection, including any legal support

the Class Member wishes to bring to the Court's attention and any evidence the Class Member

wishes to introduce in support of the objection. Class Members may so object either on their own

or through an attorney hired at their own expense. Class members who intend to appear and be

heard at the Final Approval Hearing shall be required to so state in connection with their

objection. The Deadline for Objections will be conspicuously listed in the Mailed Notice and in

the Summary Notice.



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       B.      Class Counsel and Counsel for the Settling Defendants may, in their discretion,

file and serve a written response to objection(s), if any, filed and served by any Class Member.

Any such written response shall be filed with the Court, and served upon the Class Member or

the Class Member's attorney, if any, in the most expeditious manner practicable, not later than

seven (7) days before the Final Approval Hearing.

       C.      The Final Approval Hearing will be the only opportunity for any Class Member

who objects to the proposed Settlement, to this Settlement Agreement, to the release of the

Released Claims, or to the entry of an order awarding attorneys' fees and costs to Class Counsel,

to appear and be heard.

XIII. CLAIMS

       A.      Pursuant to this Settlement Agreement, certain monetary benefits are available to

eligible Class Members only upon submission of a timely and substantially compliant claim on a

“Claim Form” approved by the Court. Court-approved Claim Forms shall be mailed together

with the Mailed Notice and shall have a return date of no later than sixty (60) days from the date

of the initial Mailed Notice. However, no Claim Forms will be sent to Class Members who opted

out of the Class prior to submission of the Settlement for Preliminary Approval by the Court.

       B.      The parties will discuss with the Settlement Administrator the feasibility of return

of Claims Forms by other means including, for example, fax, email, or online submission, and

will establish a process for return of Claims Forms by those other means if reasonably

economical and practicable. In the event that alternative means for filing claims is permitted,

such means will be explained in the class notice and on the Settlement Administrator’s website.

       C.      A copy of the Claim Form for which Court-approval will be sought is attached

hereto as Exhibit 7.



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       D.      Untimely Claims: Because the settlement process requires pro rata distribution of

a fixed fund pursuant to the Distribution Plan, Claims Forms that are not timely will not be

allowed absent relief from the court specifically granting allowance prior to Final Approval of

the Settlement.

       E.      Claims of Deceased Persons: Claims of deceased persons will not be allowed

unless a claim is submitted by a person generally authorized to act on behalf of the deceased

person’s estate together with proof of such authorization.

       F.      Claims of Joint Borrowers: Joint borrowers will be treated for the purposes of

distribution as if they have a single claim. However, the entire amount of the claim of joint

borrowers will be paid to any joint borrower making a claim if only one claim is timely

submitted on the joint account. If more than one claim is timely submitted on a joint account, the

claim payment will be divided in equal shares among the number of claimants on the joint

account.

       G.      Incomplete or Improper Claims: The Settlement Administrator will have final

authority, in consultation with Lead Class Counsel, to disallow any incomplete or improperly

filed claims and will send notice of and the reasons for such disallowance, if any, no later than

twenty (20) days prior to the hearing set on Final Approval of the Settlement.

       H.      To the extent that deficiencies in filed claims are not resolved prior to an order

entered on final approval of the Settlement, and if no relief from the court is obtained by the

claimant at the claimant’s sole cost and expense, said claim will be permanently and finally

disallowed.

XIV. CLAIMS ADMINISTRATION PROCESS

       As soon as practicable after the Effective Date, the Settlement Administrator will apply

the Distribution Plan to the properly filed claims (and to any other claims allowed by the Court)

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and will provide Lead Class Counsel and Counsel for the Settling Defendants with a Distribution

List identifying all Class Members who submitted allowed Claims, and the amount of the

payment that claimant is allowed under the Distribution Plan. Payments will be made by the

Settlement Administrator within thirty (30) days of the approval of the Distribution List by Lead

Class Counsel.

XV.    SELECTION OF SETTLEMENT ADMINISTRATOR

       The settlement administrator will be Rust Consulting, Inc. (“Settlement Administrator”).

XVI. CONFIRMATORY INVESTIGATION/REPRESENTATIONS AND
     WARRANTIES

       In addition to the discovery already completed, Settling Defendants will provide a

declaration or affidavit, under penalty of perjury, confirming, under oath to Lead Class Counsel

and subject to in camera inspection by the Court, the current financial condition of: Ameriquest

Mortgage Company; AMC Mortgage Services, Inc. (FKA Bedford Home Loans, Inc); Town &

Country Credit Corporation; Olympus Mortgage Company (NKA Bedford Home Loans, Inc.);

and Argent Mortgage Company, LLC. The confirming declaration shall not be filed with the

Court and shall be for attorneys’ eyes and in camera inspection by the Court. No copies of the

declaration shall be retained by any party or counsel, but instead shall be returned to counsel for

the Settling Defendants promptly following review by Lead Class Counsel and the Court. Said

declaration will also include a statement that the Settling Defendants are not currently making

mortgage loans and have no present intention to resume.

XVII. ATTORNEYS' FEES AND COSTS/SERVICE PAYMENTS TO NAMED CLASS
      REPRESENTATIVES

       A.        Class Counsel has prosecuted this action and the Consolidated Actions in some

cases since November, 2004, at their own expense without having received any benefit for their

services. Class Counsel will ask the Court to approve an award of Class Counsel's attorneys' fees

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and costs from the Settlement Fund. The Settling Defendants will not object to payment from

the Settlement Fund for Class Counsel’s attorneys’ fees and costs in an amount up to $7,333,333

(plus interest accrued thereon from the date interest begins to accrue for the benefit of the

Settlement Fund). Distribution of attorneys’ fees among Class Counsel will be at the sole

discretion of Lead Class Counsel.

        B.      The named class representatives will apply for Service Payments from the

Settlement Fund in the amount of $7,500 (plus interest accrued thereon from the date interest

begins to accrue for the benefit of the Settlement Fund) in recognition of their efforts and

contribution to the case and for their service to the class. Class representatives who were joint

borrowers will apply for a single payment in the amount of $7,500 (plus applicable interest). The

Settling Defendants will not object to payment from the Settlement Fund of these amounts.

        C.      Approval of the Settlement will not be contingent upon approval of the Attorneys’

Fees and Costs or of Service Payments in the amounts requested. To the extent of approval,

Attorneys’ Fees and Costs as well as Service Payments will be payable from the Settlement Fund

as of the first business day that is at least ten (10) days after the Effective Date.

        D.      Ameriquest will bear its own legal fees and costs in connection with Settlement

Approval and Administration of the Settlement.

XVIII. NO ADMISSION OF WRONGDOING

        A.      The parties hereto acknowledge that the execution of this Settlement Agreement

and consummation of the transactions contemplated hereby do not constitute an admission of

liability or of any facts by the Ameriquest Released Parties or the Additional Released Parties.

This Settlement Agreement, whether or not consummated, and any proceedings or events that

occur pursuant to it:



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            1.      Shall not be offered or received against the Ameriquest Released Parties,

            or the Additional Released Parties for any purpose or used as evidence of, or to be

            construed as or deemed to be evidence of, any admission or concession by either

            the Ameriquest Released Parties or the Additional Released Parties of the truth or

            relevance of any fact alleged by Plaintiffs and/or the Class, the validity of any

            claim that has been or could have been asserted in the Action or in any other

            litigation, or of any liability, fault, or wrongdoing of any kind by or on behalf of

            the Ameriquest Released Parties or the Additional Released Parties.

            2.      Shall not be offered or received against any of the Ameriquest Released

            Parties , or any Additional Released Parties as evidence of, or construed as or

            deemed to be evidence of, any admission or concession of any liability, fault, or

            wrongdoing, or in any way referred to for any other reason as against any of the

            parties to this Settlement Agreement, in any other civil, criminal or administrative

            action or proceeding, other than such proceedings as may be necessary to

            effectuate the provisions of this Settlement Agreement; provided, however, that if

            this Settlement Agreement is approved by the Court, the Ameriquest Released

            Parties and the Additional Released Parties may refer to it to effectuate the

            liability protection granted them hereunder; and

            3.      Is not, and shall not be construed against any party as an admission or

            concession that the consideration to be given hereunder represents the amount

            which could be or would have been recovered after trial, or as a reflection of the

            value of claims in any other litigation.

XIX. PUBLIC STATEMENTS

     Absent prior written approval by the other parties, there shall be no press release or other

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public statements by either side, including Counsel for the Class, Counsel in any Consolidated

Case, Class Representatives or Class Members, regarding the Settlement other than the Court

filings necessary to obtain Preliminary and Final Approval of the Settlement. The parties

expressly recognize the continuing need for confidentiality concerning all aspects of the

proposed Settlement pending the parties’ Motion for Preliminary Approval, other than as

required by the Court. Nothing in this Section, however, is intended to limit communications

between and among Counsel for the Class and Counsel in any Consolidated Case and/or

between and among said Counsel and Class Representatives.

XX.     TERMINATION

        A.      Termination Events: The parties will have the right to terminate the Settlement

Agreement if certain events occur (“Termination Events”). The agreement concerning

Termination Events will be contained in a confidential side letter to this agreement and will be

available for in camera inspection by the Court. The parties agree to maintain the Termination

Events and the confidential side letter concerning the Termination Events in strictest confidence,

except as otherwise agreed.

        B.      Termination for Delay: At any time following one year from Final Approval, in

the event that the Settlement is not proceeding satisfactorily to conclusion and such lack of

progress is causing material harm, either party shall have the right to seek relief from the

Settlement. If the parties cannot reach agreement on whether the Settlement is proceeding

satisfactorily to conclusion, after notice and conference, the parties will submit the dispute to

Judge Daniel Weinstein of JAMS, who will have sole authority, after appropriate consultation

with the parties, to direct any party to take specific steps to facilitate or accelerate the approval

or, if applicable, review on appeal, of the Settlement or to determine that the Settlement shall be

terminated either because the final approval (or appellate review) of the Settlement has been

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substantially delayed and is not reasonably likely in a reasonable period of time or because one

or more parties are prejudiced by a delay in the approval (or appellate review) of the Settlement

and should not be required to remain bound by the Settlement.

XXI. MEDIATOR’S CONTINUED INVOLVEMENT

       Upon joint request of the Parties or by order of court, Judge Weinstein of JAMS may

assist the parties in resolving open issues that may arise.

XXII. CONTINUING JURISDICTION OF THE UNITED STATES DISTRICT COURT

       The United States District Court for the Northern District of Illinois will have continuing

jurisdiction over this Action for the purpose of implementing the Settlement and all related

matters, including this Settlement Agreement, the Settlement, Final Approval of the Settlement,

Entry of Judgment, post-judgment issues, until all related matters are fully resolved. Any dispute

regarding the parties' obligations pursuant to this Settlement Agreement and/or interpretation of

the terms of this Settlement Agreement (that cannot be resolved by the mediator in the event of a

joint request for mediation under Section XXI) will be presented to, and resolved by, Judge

Marvin E. Aspen, or if he is unavailable, by another judge of the Northern District of Illinois,

which Judge shall be appointed by the Presiding Judge of the Northern District of Illinois.

XXIII. DISMISSAL

       In connection with Final Approval of the Settlement, a Judgment of Dismissal with

Prejudice shall be entered by the Court.

XXIV. MISCELLANEOUS PROVISIONS

       A.      Neutral Interpretation. This Settlement Agreement will not be construed more

strictly against one party than another merely because it may have been prepared by counsel for

one of the parties, it being recognized that, because of the arms' length negotiations resulting in




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the Settlement Agreement, all parties hereto have contributed substantially materially and

equally to the preparation of the Settlement Agreement.

       B.      Choice of Law. This Settlement Agreement is to be construed, enforced, and

administered in accordance with the laws of the State of Illinois. In the event legal action is

necessary to effectuate this Settlement Agreement, or any term or obligation contained therein,

the parties agree that such action shall be brought and venued in the United States District Court

for the Northern District of Illinois and further agree that any dispute arising under this

Settlement Agreement shall be adjudicated by the Hon. Marvin Aspen, as a matter related to the

proceeding in which this settlement is to be filed.

       C.      Additional Acts to Effectuate Settlement Agreement. The parties hereto shall

execute all documents and perform all acts necessary and proper to effectuate the terms of this

Settlement Agreement and to obtain the benefit of the Settlement Agreement for the parties.

       D.      No Oral Modification. Subject to any power of the Court to order a modification,

this Settlement Agreement may not be modified or amended except by a writing signed by all

parties thereto and their respective attorneys.

       E.      Competency; Independent Counsel. Each party to this Settlement Agreement

represents and warrants that he, she, or it is competent to enter into this Settlement Agreement

and in doing so is acting upon his, her, or its independent judgment and upon the advice of his,

her, or its own counsel and not in reliance upon any warranty or representation, express or

implied, or any nature or kind by any other party, other than the warranties and representations

expressly set forth in this Settlement Agreement itself.




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       F.      Entire Agreement. This Settlement Agreement constitutes the entire agreement

between and among the parties with respect to the Settlement of the Action, except as otherwise

stated herein, and supersedes any and all prior negotiations and agreements.

       G.      Counterparts. This Settlement Agreement may be executed in counterparts, each

of which shall be deemed to be an original, but all of which together shall constitute one and the

same instrument.

       H.      Authority to Bind. Each of the undersigned Plaintiffs’ counsel represents that he

or she is authorized to sign this Agreement on behalf of the Class and to resolve the FACC.

Each of the undersigned counsel for Settling Defendants represents that he or she is authorized to

sign this Agreement on behalf of the particular Settling Defendant or Defendants designated in

the respective signature blocks below.




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Dated: December       2009
                                                              age
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                                                  Adam Bass
                                                  BUCHALTER NEMER,
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                                                  Attorneys for Ameriquest Mortgage
                                                  Company; AMC Mortgage Services, Inc.
                                                  (FKA Bedford Home Loans, mc,); Town &
                                                  Country Credit Corporation; Olympus
                                                  Mortgage Company (NKA Bedford Home
                                                  Loans, Inc.



Dated: December       2009               By                             ‘‘
                                                  omas Wiegand
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                                                  LLC




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